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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

THE SUSTAINABILITY INSTITUTE,                   )
et al.,                                         ) Civil Action Number:    2:25-cv-02152-RMG
                                                )
                         Plaintiffs,            )
                                                )
                 VS.                            )
                                                )
DONALD J. TRUMP, in his official                )
capacity as President of the United States,     )
et al.,                                         )
                                                )
                         Defendants.            )
                                          DECLARATION

          I, Sean P. Duffy, declare pursuant to 28 U.S.C. § 1746 as follows:

          1.     As the United States Secretary of Transportation, I am the head of the United States

Department of Transportation, including the Federal Highway Administration (“FHWA”).

          2.     Pursuant to the Court’s Order entered in the above-captioned case on May 20, 2025

(the “Order’’), I submit this certification confirming DOT’s compliance with the Order.

          3.     I understand that the above-captioned case includes claims related to two DOT

grant award selections announced for the Metropolitan Government of Nashville & Davidson

County (“Nashville”): a grant awarded in August 2024 for the Charging and Fueling Infrastructure

Discretionary    Grant Program     (“CFI”), and a grant awarded    in January 2025    for the Active

Transportation Infrastructure Investment Program (“ATIIP”). I understand that a grant agreement

has not been signed for either of these two grants, which are among            the grants undergoing

individualized, administrative review by DOT and FHWA. I understand that the Order designated

these grants as grants 37 and 38 for reference.




                                                                                              Exhibit 3
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       4,      I certify that, pursuant to the Order, FHWA employees have begun the process of

negotiating grant agreements with Nashville for grants 37 and 38, which when completed will

obligate grant funds.   Specifically, FHWA     employees    have contacted Nashville via email to

confirm whether Nashville is prepared to move forward with negotiating grant agreements for
                                                                4

grants 37 and 38.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 27, 2025.


                                                       Sean P. Duffy
                                                       United States Secretary of Transpo
